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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
 Liliana Carolina Yanes, individually and on behalf of all)
 others similarly situated,                               )         Case No. 23-cv-09454
                                                          )
                                            Plaintiff(s), )         [PROPOSED] SO-
                                                          )         ORDERED STIPULATION
                        -against-                         )         AND SCHEDULING
                                                          )         ORDER
 Nilkhant 2 Car Wash, LLC d/b/a Bethpage Car Wash,        )
 Rakeshbhai Patel, Darpan Patel and Ronak Patel,,         )
                                                          )
                                          Defendant(s). )

The parties, consistent with the Court’s Scheduling Order dated July 15, 2024, hereby stipulate and

agree as follows:

       1. Defendants shall respond to Plaintiff’s Interrogatories and Requests for Production

           dated July 19, 2024 no later than August 23, 2024.

       2. Party depositions shall be completed no later than September 31, 2024.

       3. The parties do not anticipate the need for expert discovery;

       4. Requests for admissions and supplemental discovery requests shall be served on or

           before October 15, 2024.

       5. Responses to requests for admissions and responses to supplemental discovery requests

           shall be served on or before November 15, 2024.

       6. All fact discovery shall be completed by November 29, 2024.

       7. The deadline to commence summary judgment practice by the filing of a pre-motion

           letter is December 31, 2024.

       8. The parties consent to have a United States Magistrate Judge conduct all proceedings in

           this case including trial, the entry of final judgment, and all post-trial proceedings.
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 Dated:                                           Dated:

 MOSER LAW FIRM, P.C.                             IRA LEVINE, ESQ

 ___Steven J. Moser                               ____Ira Levine
 By: Steven John Moser                            By: Ira Levine
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 Attorneys for Plaintiff(s)                       Attorneys for Defendant(s)


Dated:

DISCOVERY SO ORDERED:




Hon. Anne Y. Shields, USMJ

                                    REFERENCE ORDER

IT IS ORDERED: This case is referred to a United States magistrate judge to conduct all
proceedings and order the entry of a final judgment in accordance with 28 U.S.C. § 636(c) and
Fed. R. Civ. P. 73.

Dated:




Hon. Joan M. Azrack, U.S.D.J
